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                                       7
                                       8                         UNITED STATES DISTRICT COURT
                                       9                        CENTRAL DISTRICT OF CALIFORNIA
                                      10
                                      11   APL CO. PTE LTD                                CASE NO. 2:20-cv-05999-SB-
Gordon Rees Scully Mansukhani, LLP




                                                                                          PD
                                      12                             Plaintiff,
      5 Park Plaza, Suite 1100




                                                                                          APPLICATION FOR
                                      13         vs.                                      DEFAULT JUDGMENT
         Irvine, CA 92614




                                                                                          AGAINST ANDPLASTIC
                                      14   TDR LOGISTICS INC.; ANDPLASTIC                 TRADE CO. LTD. UNDER
                                           TRADE LTD.; and ANDPLASTIC                     FED. R. CIV. P. 55(b)(2)
                                      15   TRADE CO., LTD.
                                                                                          Date: April 1, 2022
                                      16                             Defendants.          Time: 8:30 a.m.
                                                                                          Dept.: 6C
                                      17
                                      18
                                      19         PLEASE TAKE NOTICE THAT on April 1, 2022, at 8:30 a.m., or as
                                      20   soon thereafter as this matter may be heard by the above-entitled Court, located at
                                      21   U.S. Courthouse, 350 West 1st Street, Los Angeles, California 90012 Courtroom
                                      22   6C, Plaintiff APL CO. PTE LTD (“APL” or “Plaintiff”) will present its application
                                      23   for a default judgment against Defendant ANDPLASTIC TRADE CO., LTD.
                                      24   (“ANDPLASTIC CO.”). The clerk previously entered the default of
                                      25   ANDPLASTIC CO. on September 9, 2021 on the First Amended Complaint.
                                      26         At the time and place of hearing, Plaintiff will present proof of the following
                                      27   matters:
                                      28
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                                                       APPLICATION FOR DEFAULT JUDGMENT UNDER FED. R. CIV. P. 55(b)(2)
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                                       1         1.      Defendant ANDPLASTIC CO. is not a minor or incompetent person or
                                       2   in military service or otherwise exempted under the Soldiers' and Sailors' Civil
                                       3   Relief Act of 1940 as ANDPLASTIC CO. is a corporation existing under the laws
                                       4   of Hong Kong SAR, China.
                                       5         2.      ANDPLASTIC CO. has not appeared in this action.
                                       6         3.      Notice of this application for default judgment by court was served on
                                       7   said Defendant ANDPLASTIC CO. on February 28, 2022, by FedEx, as required by
                                       8   Local Rule 55-1.
                                       9         4.      Plaintiff is entitled to judgment against ANDPLASTIC CO. on account
                                      10   of the claims pleaded in the First Amended Complaint. To wit, the First Amended
                                      11   Complaint in this action sets out a valid claim for breach of maritime contract against
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                                      12   ANDPLASTIC CO. as follows:
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                                      13              a. ANDPLASTIC CO. was the named shipper under the following bills
         Irvine, CA 92614




                                      14                 of lading: (1) AYU0221029; (2) AYU0221052; (3) AYU0221063;
                                      15                 (4) AYU0221100; (5) AYU0221030; (6) AYU0221056A;
                                      16                 (7) AYU0221062; (8) AYU0221069; (9) AYU0221106;
                                      17                 (10) AYU0221031; (11) AYU0240068; (12) AYU0230202;
                                      18                 (13) AYU0230216; (14) AYU0230222; (15) AYU0221056B;
                                      19                 (16) AYU0230211; (17) AYU0234695; (18) AYU0221034;
                                      20                 (19) AYU0221036; (20) AYU0230200A; (21) AYU0230200B;
                                      21                 (22) AYU0239074; (23) AYU0239078A; (24) AYU0239078B;
                                      22                 (25) AYU0230201; (26) AYU0234689; (27) AVB0100243;
                                      23                 (28) AYU0239069; (29) AYU0221032A; (30) AYU0221032B;
                                      24                 (31) AYU0221042; and (32) AYU0248200 (collectively “APL Bills
                                      25                 of Lading”).
                                      26              b. There were seventy-seven (77) containers shipped under the APL
                                      27                 Bills of Lading (“Containers”).
                                      28
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                                       1            c. As the named shipper, ANDPLASTIC CO. qualifies as a “merchant”
                                       2               under Clause 1 of the Standard Terms and Conditions applicable to
                                       3               the thirty-two (32) APL Bills of Lading.
                                       4            d. As a “merchant” ANDPLASTIC CO., was the entity for whose
                                       5               account the transportation services were provided by APL, was the
                                       6               party that received and benefitted from the transportation services
                                       7               provided by APL, and was the entity responsible for payment of
                                       8               charges relating to the shipment of containers under the thirty-two
                                       9               (32) APL Bills of Lading.
                                      10            e. ANDPLASTIC CO. tendered the containers under the APL Bills of
                                      11               Lading for transportation, for which freight and other charges were
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                                      12               lawfully incurred pursuant to the terms of the thirty-two (32) APL
      5 Park Plaza, Suite 1100




                                      13               Bills of Lading and/or applicable marine tariff(s).
         Irvine, CA 92614




                                      14            f. APL delivered the containers under the APL Bills of Lading to the
                                      15               Port of Jakarta, Indonesia and were made available for collection. To
                                      16               date, ANDPLASTIC CO. has failed to take delivery of the Containers
                                      17               under the APL Bills of Lading as they have been seized by the
                                      18               Indonesian Government for ANDPLASTIC CO.’s failure to comply
                                      19               with import regulations.
                                      20            g. As a result of ANDPLASTIC CO.’s failure to take delivery of the
                                      21               containers under the APL Bills of Lading, APL has incurred damages,
                                      22               liabilities, charges, expenses, fees and costs for detention and
                                      23               demurrage, logistics and storage.
                                      24            h. Under Clauses 11 and 26 of the Standard Terms and Conditions
                                      25               applicable to the thirty-two (32) APL Bills of Lading, ANDPLASTIC
                                      26               CO. is obligated to pay these damages, liabilities, charges, expenses,
                                      27               fees and costs for detention and demurrage, logistics and storage
                                      28               costs.
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                                       1         5.     The amount of judgment sought is the sum of US$5,547,051.25 as of
                                       2   January 31, 2022, as set forth in the attached declaration of Prantika Sengupta.
                                       3         This Application is based on this document, the accompanying declarations
                                       4   of Prantika Sengupta and James Marissen, and on all of the pleadings and papers
                                       5   on file in this action, and on whatever evidence and argument that may be
                                       6   presented at a hearing on this motion.
                                       7
                                       8    Dated: February 28, 2022                   GORDON REES SCULLY
                                                                                       MANSUKHANI, LLP
                                       9
                                      10                                               By: /s/ James A. Marissen
                                      11                                                   James A. Marissen
Gordon Rees Scully Mansukhani, LLP




                                                                                           Rachel A. Weitzman
                                      12                                                   Attorneys for Plaintiff
      5 Park Plaza, Suite 1100




                                      13                                                   APL CO. PTE LTD
         Irvine, CA 92614




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